

People v Marquez (2024 NY Slip Op 00686)





People v Marquez


2024 NY Slip Op 00686


Decided on February 08, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 08, 2024

Before: Manzanet-Daniels, J.P., Kern, Friedman, O'Neill Levy, Michael, JJ. 


Ind No. 1996/21 Appeal No. 1603 Case No. 2022-02940 

[*1]The People of The State of New York, Respondent, 
vJose Marquez, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Nao Terai of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (David Gagne of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Gregory Carro, J.), rendered June 08, 2022,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 8, 2024
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








